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 1     UNITED STATES DISTRICT COURT
       EASTERN DISTRICT OF NEW YORK
 2     ------------------------------x
                                                 23-CR-236(FB)
 3     UNITED STATES OF AMERICA,
                                                 United States Courthouse
 4                 Plaintiff,                    Brooklyn, New York

 5                 -against-                     May 30, 2024
                                                 10 o'clock a.m.
 6     NICHOLAS CERAOLO,

 7                 Defendant.

 8     ------------------------------x

 9
                   TRANSCRIPT OF CRIMINAL CAUSE FOR PLEADING
10                   BEFORE THE HONORABLE MARCIA M. HENRY
                        UNITED STATES MAGISTRATE JUDGE
11

12     APPEARANCES

13
       For the Government:          UNITED STATES ATTORNEY'S OFFICE
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15                                  Brooklyn, New York 11201
                                    BY: ELLEN HANLEY SISE
16                                  Assistant United States Attorney

17
       For the Defendant:           OLSHAN GRUNDMAN FROME & WOLOSKY, LLC
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                                    BY: ROBERT M. APPLETON, ESQ.
19
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20                                  Phone: 718-613-2484
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21

22

23

24
       Proceedings recorded by mechanical stenography.             Transcript
25     produced by computer-aided transcription.

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 1                 THE COURTROOM DEPUTY:         Criminal cause for pleading,

 2     23-CR-236, USA v. Nicholas Ceraolo.

 3                 Counsel, please state your appearance for the

 4     record, starting with the Government.

 5                 MS. SISE:    Good morning, your Honor.           Ellen Sise for

 6     the Government, and I'm joined by a summer intern with our

 7     office, Casey Monyak.

 8                 THE COURT:    Good morning to each of you.

 9                 MS. SISE:    Thank you.

10                 MR. APPLETON:    Good morning, your Honor.            Robert

11     Appleton on behalf of Defendant Nicholas Ceraolo, who's seated

12     with me at counsel table.

13                 THE COURT:    Good morning to each of you as well.

14                 Good morning to the prosecution.

15                 Mr. Appleton, how does your client wish to proceed

16     today?

17                 MR. APPLETON:    Your Honor, my client wishes to

18     change his plea of guilty to Counts One and Two of the

19     indictment under an agreement with the Government.

20                 THE COURT:    Mr. Ceraolo, your attorney does advise

21     me that you wish to plead guilty today or enter your guilty

22     plea today pursuant to a written agreement with the

23     Government.

24                 This plea is a very serious decision.             I have to

25     make sure that you understand your rights and the consequences

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 1     of your plea.       I'm going to explain some things and I'm going

 2     to ask you some questions.          I want your answers to be under

 3     oath.

 4                 At this time, my deputy will administer the oath.

 5                 THE COURTROOM DEPUTY:          Mr. Ceraolo, please stand and

 6     raise your right hand.

 7                 Do you swear or affirm that the answers you're about

 8     to give in connection to this plea will be the truth, the

 9     whole truth, and nothing but the truth, so help you God?

10                 THE DEFENDANT:        Yes.

11                 THE COURT:     Thank you.       Please be seated.       And sir,

12     now that you have been sworn to tell the truth, you must tell

13     the truth.       If you were to deliberately lie or omit material

14     information in response to any question that I ask you, you

15     could face additional criminal charges for perjury or for

16     making a false statement.

17                 Do you understand that?

18                 THE DEFENDANT:        Yes, your Honor.

19                 THE COURT:     Can you just come a little closer to the

20     table so that the microphone -- they don't move.                 I just need

21     you to come closer so the microphone can pick up your voice.

22     Thank you.

23                 In any such prosecution, the Government can use any

24     statements that you make here today under oath against you.

25                 Do you understand that?

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 1                 THE DEFENDANT:       Yes, your Honor.

 2                 THE COURT:    If I say anything that you don't

 3     understand or if you need me to repeat anything, please ask.

 4     It's extremely important that you understand everything that

 5     goes on in this proceeding.

 6                 Is that clear?

 7                 THE DEFENDANT:       Yes.

 8                 THE COURT:    In addition, if you need time to speak

 9     privately with Mr. Appleton at any point during this

10     proceeding, please let me know.           We will then pause the

11     proceeding and you will have that time.

12                 Do you understand that?

13                 THE DEFENDANT:       Yes, your Honor.

14                 THE COURT:    The first issue I want to address is

15     your consent for me to hear your plea today.

16                 I am a United States Magistrate Judge.              District

17     Judge Frederic Block is the assigned district judge in this

18     case.   He will sentence you and will make the ultimate

19     decision as to whether or not to accept your plea.

20                 You have the absolute right to have Judge Block

21     listen to your guilty plea.         If you choose to do that, there

22     will be no prejudice to you.

23                 Alternatively, if you choose, you may waive or give

24     up the right to have Judge Block listen to your plea.

25     Instead, I will listen to your plea.

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 1                 There is a court reporter here today who will make a

 2     transcript of these proceedings.           Judge Block will review that

 3     transcript and decide whether to accept your plea.                He'll also

 4     review that transcript before he decides what your sentence

 5     will be.

 6                 Now, I have before me a form entitled:              Consent to

 7     have a plea taken before United States Magistrate Judge Marcia

 8     M. Henry.

 9                 Well, first, I know I'm a little far away, but is

10     this your signature on the first line here?

11                 THE DEFENDANT:       Yes, your Honor.

12                 THE COURT:    Mr. Appleton, is that your signature

13     underneath your client's?

14                 MR. APPLETON:    Yes, it is.

15                 THE COURT:    Ms. Sise, is this your signature above

16     the name of the U.S. Attorney?

17                 MS. SISE:    Yes, your Honor.

18                 THE COURT:    This document is dated today, May 30,

19     2024.

20                 Mr. Ceraolo, have you reviewed this document?

21                 THE DEFENDANT:       Yes, your Honor.

22                 THE COURT:    Have you had enough time to discuss this

23     document with your attorney?

24                 THE DEFENDANT:       Yes, your Honor.

25                 THE COURT:    I'm going to summarize what it says.

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 1                 It says that I informed you of your right to have

 2     your plea taken before a district judge.             It also says that

 3     you've been advised that you can consent or agree to have your

 4     plea taken before a magistrate judge; in this case, me.

 5                 It says that you understand that you won't suffer

 6     any prejudice if you don't agree to have a magistrate judge

 7     take your plea and it also says that you understand that if

 8     you don't agree to that, then the assigned district judge,

 9     Judge Block, would conduct the plea allocution.

10                 It further says that you've discussed this matter

11     fully with your lawyer and, after doing that, you do agree or

12     consent to enter your plea before a magistrate judge; in this

13     case, me.

14                 Do you understand everything that I've just

15     summarized?

16                 THE DEFENDANT:       Yes, your Honor.

17                 THE COURT:    And do you wish to give up or waive your

18     right to have Judge Block listen to your plea?

19                 THE DEFENDANT:       Yes, your Honor.

20                 THE COURT:    Are you making this decision voluntarily

21     and of your own free will?

22                 THE DEFENDANT:       Yes, your Honor.

23                 THE COURT:    Has anyone threatened you or promised

24     you anything to get you to agree to have me hear your plea?

25                 THE DEFENDANT:       No, your Honor.

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 1                 THE COURT:    I do find that Mr. Ceraolo is knowingly

 2     and voluntarily consenting to plea before the magistrate

 3     judge.   As a result, I have signed the consent form.

 4                 Now I have to ask you a few questions about yourself

 5     and your state of mind.      First, can you just please state your

 6     full name?

 7                 THE DEFENDANT:       Nicholas Ceraolo.

 8                 THE COURT:    How old are you?

 9                 THE DEFENDANT:       Twenty-seven.

10                 THE COURT:    How far did you go to school?

11                 THE DEFENDANT:       I graduated high school.

12                 THE COURT:    Have you had any problems communicating

13     with your lawyer?

14                 THE DEFENDANT:       No.

15                 THE COURT:    Are you now or have you recently been

16     under the care of a doctor or a psychiatrist for any reason?

17                 THE DEFENDANT:       No.

18                 THE COURT:    Are you taking any medications?

19                 THE DEFENDANT:       Yes.

20                 THE COURT:    What medications are you taking?

21                 THE DEFENDANT:       Synthroid for autoimmune thyroid

22     disease.

23                 THE COURT:    When was the last time you took the

24     Synthroid.

25                 THE DEFENDANT:       About, like, a week ago.

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 1                 THE COURT:    Does it affect your ability to

 2     understand what's happening today?

 3                 THE DEFENDANT:       No.

 4                 THE COURT:    Any other medications?

 5                 THE DEFENDANT:       No, that's all.

 6                 THE COURT:    Have you had any alcohol to drink within

 7     the last 24 hours?

 8                 THE DEFENDANT:       No.

 9                 THE COURT:    Have you taken any drugs recently?

10                 THE DEFENDANT:       No.

11                 THE COURT:    Have you ever been hospitalized or

12     treated for drug addiction.

13                 THE DEFENDANT:       No.

14                 THE COURT:    Have you ever been hospitalized or

15     treated for alcoholism?

16                 THE DEFENDANT:       No.

17                 THE COURT:    Have you ever been treated for a mental

18     or emotional issue?

19                 THE DEFENDANT:       Yes.

20                 THE COURT:    When was that?

21                 THE DEFENDANT:       A couple years ago.

22                 THE COURT:    Are you still being treated for that

23     issue?

24                 THE DEFENDANT:       No.

25                 THE COURT:    What was the issue?

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 1                 THE DEFENDANT:       I was in, like, a psychological ward

 2     at Jamaica Hospital years ago.

 3                 THE COURT:    Any other hospitalizations related to

 4     that?

 5                 THE DEFENDANT:       Nope.

 6                 THE COURT:    Do you believe that that's affecting

 7     your ability to understand what's happening today?

 8                 THE DEFENDANT:       No.

 9                 THE COURT:    Is your mind clear now?

10                 THE DEFENDANT:       Yes.

11                 THE COURT:    And do you understand why you're here

12     and what we're doing here today?

13                 THE DEFENDANT:       Yes.

14                 THE COURT:    I note for the record that Mr. Ceraolo

15     does appear alert and able to understand the proceedings

16     today.

17                 Mr. Appleton, have you had any problems

18     communicating with your client?

19                 MR. APPLETON:    No, your Honor.

20                 THE COURT:    Is he capable of understanding the

21     nature of the charge to which he is pleading guilty?

22                 MR. APPLETON:    Yes, he is.

23                 THE COURT:    And have you discussed the charges with

24     your client and what it means to plead guilty?

25                 MR. APPLETON:    Extensively.

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  1                THE COURT:    Have you advised him of the maximum

  2    sentence and fine that can be imposed as a result of his plea?

  3                MR. APPLETON:        I have.

  4                THE COURT:    Have you discussed with him how the

  5    sentencing guidelines operate?

  6                MR. APPLETON:        I have.

  7                THE COURT:    Have you discussed with him any

  8    potential immigration consequences of his guilty plea?

  9                MR. APPLETON:        Yes, although I don't think there are

 10    any.

 11                THE COURT:    Are you satisfied that he understood all

 12    of your discussions?

 13                MR. APPLETON:        I am.

 14                THE COURT:    Do you think that he understands the

 15    rights he'll be waiving by pleading guilty?

 16                THE DEFENDANT:        He does.

 17                THE COURT:    Do you have any doubt about his

 18    competence to plead guilty here today?

 19                MR. APPLETON:        No, I don't, your Honor.

 20                THE COURT:    You can be seated and you can remain

 21    seated for the remainder of the hearing.

 22                Mr. Ceraolo, have you had enough time to discuss

 23    your case with your attorney?

 24                THE DEFENDANT:        Yes, your Honor.

 25                THE COURT:    Are you satisfied with the assistance

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  1    your attorney has given you in this case?

  2                THE DEFENDANT:       Yes, your Honor.

  3                THE COURT:    Now, I understand that you're seeking

  4    today to plead guilty to Counts One and Two of the indictment.

  5    Count One charges you with conspiracy to commit computer

  6    intrusion and Count Two charges you with aggravated identity

  7    theft.    There are also forfeiture allegations related to Count

  8    One.

  9                Now, to convict you of these offenses, the

 10    Government would have to prove beyond a reasonable doubt

 11    specific elements for each offense.            I'm going to review those

 12    with you now.

 13                For Count One, the conspiracy to commit computer

 14    intrusion, the Government would have to prove beyond a

 15    reasonable doubt that, first, two or more people entered into

 16    the unlawful agreement charged in Count One in or about and

 17    between April 2022 and May 2022.

 18                Second, you knowingly and willfully became a member

 19    of that unlawful agreement.

 20                Third, that one of the members of the unlawful

 21    agreement or conspiracy knowingly committed at least one of

 22    the overt acts charged in Count One of the indictment.

 23                And fourth, that that overt act was committed to

 24    further some objective of this unlawful agreement or

 25    conspiracy.

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  1                Further, because this charges you with conspiracy to

  2    commit computer intrusion, the elements of computer intrusion

  3    are, first, that without authorization that a person accessed

  4    a computer.

  5                Second, that that access was done intentionally.

  6                And then third, that the person committing the

  7    access obtained information from any department or agency of

  8    the United States.

  9                Do you understand what the Government would have to

 10    prove in order to convict you of the offense charged in Count

 11    One of the indictment?

 12                THE DEFENDANT:       Yes, your Honor.

 13                THE COURT:    Now, for Count Two, aggravated identity

 14    theft, the Government would have to prove beyond a reasonable

 15    doubt, first, that you knowingly transferred, possessed, or

 16    used without any lawful authority a means of identification of

 17    another person.

 18                And, second, that you knowingly transferred,

 19    possessed, or used that means of identification during and in

 20    relation to the offense charged in Count One; in other words,

 21    in the course of this conspiracy to commit this computer

 22    invasion.

 23                Do you understand what the Government would have to

 24    prove to convict you of the offense charged in Count Two of

 25    the indictment?

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  1                THE DEFENDANT:        Yes, your Honor.

  2                THE COURT:    Counsels, have I misstated or omitted

  3    any of the essential elements of the offenses?

  4                Mr. Appleton?

  5                MR. APPLETON:        No, your Honor.

  6                THE COURT:    Ms. Sise?

  7                MS. SISE:    No, your Honor.

  8                THE COURT:    Ms. Sise, under the Crime Victim's

  9    Rights Act, crime victims have the right to be reasonably

 10    heard in any public proceeding in the district court,

 11    including plea hearings.

 12                Does this case implicate the CVRA?

 13                MS. SISE:    Your Honor, the victim company was --

 14    rather, the victim government organization was a government

 15    organization.

 16                THE COURT:    Well, has the government organization

 17    been identified and notified of the plea hearing?

 18                MS. SISE:    Yes, your Honor.

 19                THE COURT:    As well as any rights that they have to

 20    have a representative present?

 21                MS. SISE:    Yes, your Honor.

 22                THE COURT:    Are there any representatives present?

 23                MS. SISE:    No, your Honor.

 24                THE COURT:    Now Mr. Ceraolo, by pleading guilty you

 25    are giving up very valuable rights.             I want to make sure that

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  1    you understand the rights that you're giving up if you plead

  2    guilty.

  3                First, you have the right to plead not guilty and to

  4    continue to plead not guilty.

  5                Do you understand that?

  6                THE DEFENDANT:       Yes, your Honor.

  7                THE COURT:    If you plead not guilty, under the

  8    Constitution and laws of the United States, you have a right

  9    to a speedy and public trial before a jury.

 10                Do you understand that?

 11                THE DEFENDANT:       Yes, your Honor.

 12                THE COURT:    You have the right to be represented by

 13    an attorney at any trial and at every other stage of the

 14    proceedings.     If you couldn't afford an attorney, one would be

 15    appointed for you by the Court at no charge.

 16                Do you understand that?

 17                THE DEFENDANT:       Yes, your Honor.

 18                THE COURT:    At trial, you would be presumed

 19    innocent.    The Government would have to prove you guilty

 20    beyond a reasonable doubt based on the elements I just

 21    described to you.      You do not have to prove that you are

 22    innocent.    In other words, if the Government failed to prove

 23    you guilty beyond a reasonable doubt, the jury would have to

 24    find you not guilty.

 25                Do you understand that?

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  1                THE DEFENDANT:       Yes, your Honor.

  2                THE COURT:    At trial, witnesses for the Government

  3    would have to come to court to testify in your presence.                 Your

  4    lawyer would have the right to cross-examine those witnesses

  5    and to raise legal objections to the Government's evidence.

  6                Do you understand that?

  7                THE DEFENDANT:       Yes, your Honor.

  8                THE COURT:    At trial, you also have the right to

  9    offer testimony or other evidence in your own defense.                 You

 10    have the right to compel witnesses to testify on your behalf.

 11                Do you understand that?

 12                THE DEFENDANT:       Yes, your Honor.

 13                THE COURT:    At trial, you would have the right to

 14    testify on your own behalf if you chose to.              But if you chose

 15    not to testify, you could not be forced to or required to.

 16    This is because under the Constitution and laws of the United

 17    States, you cannot be compelled to be a witness against

 18    yourself or to incriminate yourself.

 19                Do you understand that?

 20                THE DEFENDANT:       Yes, your Honor.

 21                THE COURT:    Also, if you chose not to testify or to

 22    present any evidence at all in your defense, the fact that you

 23    chose not to do that could not be used against you.

 24                Do you understand that?

 25                THE DEFENDANT:       Yes, your Honor.

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  1                THE COURT:    If you plead guilty to the crimes

  2    charged and if your guilty plea is accepted based on my

  3    recommendation, then you'll be giving up your right to a trial

  4    and all of the other trial rights that I've just described.

  5    There will be no trial in this case.               You will stand convicted

  6    of the crimes to which you are pleading guilty just as if a

  7    jury found you guilty.

  8                Do you understand that?

  9                THE DEFENDANT:       Yes, your Honor.

 10                THE COURT:    If you plead guilty, I will have to ask

 11    you certain questions about what you did in order to satisfy

 12    myself and Judge Block that you are, in fact, guilty of the

 13    charges to which you are pleading guilty.              You will have to

 14    answer my questions truthfully and acknowledge your guilt.                    In

 15    other words, you will be giving up your right not to

 16    incriminate yourself.

 17                Do you understand that?

 18                THE DEFENDANT:       Yes, your Honor.

 19                THE COURT:    Are you willing to give up your right to

 20    a trial and all of the other trial rights that I've just

 21    described?

 22                THE DEFENDANT:       Yes, your Honor.

 23                THE COURT:    Now, as mentioned, there is a written

 24    agreement in this case, which is marked as Court Exhibit 1.

 25                (Court Exhibit 1 so marked.)

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  1                THE COURT:    I have the agreement in front of me and

  2    I'm going to turn to the last page of the agreement.

  3                And let me just confirm, have you had an opportunity

  4    to review this document, your agreement with the Government?

  5                THE DEFENDANT:        Oh, yes, your Honor.

  6                THE COURT:    Did you discuss this document with your

  7    attorney?

  8                THE DEFENDANT:        Yes, your Honor.

  9                THE COURT:    I'm going to first ask -- excuse me.

 10                I'm going to read the acknowledgment block here, and

 11    it states, quote:      I have read the entire agreement and

 12    discussed it with my attorney.           I understand all of its terms

 13    and am entering into it knowingly and voluntarily, end quote.

 14                Mr. Ceraolo, is this your signature directly

 15    underneath that acknowledgment block?

 16                THE DEFENDANT:        Yes, your Honor.

 17                THE COURT:    Mr. Appleton, is that your signature

 18    underneath your client's.

 19                MR. APPLETON:        Yes, your Honor.

 20                THE COURT:    Ms. Sise, is this your signature under

 21    the name of the U.S. Attorney?

 22                MS. SISE:    Yes, your Honor.

 23                THE COURT:    And underneath your signature, is that

 24    the signature of a supervisory Assistant United States

 25    Attorney?

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  1                MS. SISE:    Yes, your Honor.

  2                THE COURT:    For the record, this document is also

  3    dated today, May 30, 2024.

  4                Mr. Ceraolo, by signing this agreement, do you agree

  5    to all of the terms of the agreement?

  6                THE DEFENDANT:        Yes, your Honor.

  7                THE COURT:    Does this agreement represent your

  8    entire understanding of your agreement with the Government

  9    concerning your plea of guilty?

 10                THE DEFENDANT:        Yes, your Honor.

 11                THE COURT:    Mr. Appleton, have you discussed this

 12    agreement with your client?

 13                MR. APPLETON:        Yes, your Honor.

 14                THE COURT:    Do you believe he fully understands the

 15    terms of the agreement?

 16                MR. APPLETON:        Yes, I do.

 17                THE COURT:    Does this agreement contain all of the

 18    promises made between the Government and your client in

 19    exchange for his plea of guilty?

 20                MR. APPLETON:        Yes, your Honor.

 21                THE COURT:    Ms. Sise, does this agreement contain

 22    all of the promises made between the Government and the

 23    Defendant in exchange for his plea of guilty?

 24                MS. SISE:    Yes, your Honor.

 25                THE COURT:    Now I'd like to review the consequences

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  1    of pleading guilty with you, Mr. Ceraolo.

  2                The charge in Count One, conspiracy to commit

  3    computer intrusion, carries the following potential penalties.

  4                First, there's a five-year maximum term of

  5    imprisonment.     There is no minimum term of imprisonment.

  6                With respect to supervised release after any prison

  7    term, there's a maximum term of three years.              What that means

  8    is if you were sentenced to a term of imprisonment, then after

  9    you are released from prison you will be supervised by the

 10    probation department.      You will have to abide by certain

 11    restrictions and requirements for up to three years.

 12                If you violate any of the conditions of supervised

 13    release during this period, you can be sentenced to up to two

 14    more years without credit -- two more years in prison without

 15    credit for the time that you had been on supervised release or

 16    in prison in this case.

 17                Do you understand that?

 18                THE DEFENDANT:       Yes, your Honor.

 19                THE COURT:    There's a maximum possible fine of the

 20    greater of two numbers; either $250,000 or twice the gross

 21    gain to you or the twice the gross loss to someone else.

 22                Do you understand that?

 23                THE DEFENDANT:       Yes, your Honor.

 24                THE COURT:    The Court does have the authority to

 25    impose restitution where applicable.

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  1                Ms. Sise, is restitution an issue in this case?

  2                MS. SISE:    No, your Honor.

  3                THE COURT:    As to Count One?

  4                MS. SISE:    Your Honor, I don't believe that there

  5    are any losses to the victim.

  6                THE COURT:    All right.       The agreement indicates that

  7    it's mandatory in the full amount of each victim's losses.

  8                MS. SISE:    Yes, your Honor.          We don't have a loss

  9    affidavit from the victim at this time, but we're not

 10    anticipating that there will be losses that result in

 11    restitution.

 12                THE COURT:    Okay.     So, the Government has indicated

 13    that there likely might not be a loss.             But, ultimately, if

 14    there was, then restitution would potentially be a penalty in

 15    this case.

 16                MS. SISE:    Yes, your Honor.

 17                THE COURT:    Do you understand that, Mr. Ceraolo?

 18                THE DEFENDANT:       Yes, your Honor.

 19                THE COURT:    You are required to pay a mandatory

 20    special assessment of $100 as to Count One.

 21                Do you understand that?

 22                THE DEFENDANT:       Yes, your Honor.

 23                THE COURT:    Further, forfeiture is mandatory as set

 24    forth in your plea agreement.          And primarily, you agree to

 25    give up all right, title, and interest in certain assets as

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  1    set forth in your agreement with the Government.               You also

  2    agree that you waive or give up any right to a jury trial or

  3    hearing on the issue of forfeiture.

  4                Do you understand that?

  5                THE DEFENDANT:       Yes, your Honor.

  6                THE COURT:    And I understand that the Government has

  7    prepared an order of forfeiture to be filed at some point

  8    before sentencing.

  9                MS. SISE:    Yes, your Honor.

 10                THE COURT:    With respect to Count Two, aggravated

 11    identity theft, it carries the following potential penalties.

 12                First, there is a minimum and maximum term of

 13    imprisonment of two years.

 14                Do you understand that?

 15                THE DEFENDANT:       Yes, your Honor.

 16                THE COURT:    After any prison term, then the period

 17    of supervised release could be a maximum of up to one year.

 18    So, again, after any prison term, you would then be released

 19    and supervised by the probation department for up to one year.

 20                If you were to violate the conditions of release,

 21    you could be sentenced up to one more year, without credit for

 22    the prior time served in this case or any supervision.

 23                Do you understand that?

 24                THE DEFENDANT:       Yes, your Honor.

 25                THE COURT:    The fine is the same as in Count One,

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  1    which is the greater of the $250,000 or twice the gross gain

  2    to you or twice the gross loss to someone else.

  3                Do you understand that?

  4                THE DEFENDANT:       Yes, your Honor.

  5                THE COURT:    Further, as mentioned, restitution is an

  6    option to the extent that there are any losses to the victim.

  7    And the Court would determine that at sentencing.

  8                Do you understand that?

  9                THE DEFENDANT:       Yes, your Honor.

 10                THE COURT:    For this count, you also are required to

 11    pay the mandatory special assessment of $100.              So, your total

 12    special assessment for both counts is $200.

 13                Do you understand that?

 14                THE DEFENDANT:       Yes, your Honor.

 15                THE COURT:    Further, as mentioned, the forfeiture

 16    that is applicable in the plea agreement still counts as --

 17    well, not specific to Count Two; however, forfeiture could be

 18    part of your overall -- would be part of your overall

 19    sentence.

 20                Understand that the sentence imposed for Count Two,

 21    aggravated identity theft, has to be consecutive to any

 22    sentence that is imposed for Count One.

 23                Do you understand that?

 24                THE DEFENDANT:       Yes, your Honor.

 25                THE COURT:    In addition, I understand that your

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  1    attorney indicated that there might not be an immigration

  2    issue, but I am required to advise you that if you are not a

  3    United States citizen, another result of pleading guilty is

  4    that you may be removed from the United States, denied

  5    citizenship, and denied admission to the United States in the

  6    future.    However, removal and other immigration consequences

  7    would be the subject of a separate proceeding.

  8                Do you understand that?

  9                THE DEFENDANT:       Yes, your Honor.

 10                THE COURT:    Now, you are pleading guilty to felony

 11    offenses.    If the district judge accepts your plea, then you

 12    will be considered guilty of those felony offenses.

 13                A felony conviction means that you may not possess a

 14    firearm, ammunition, or destructive device.              This means that

 15    if you ever possess a firearm, ammunition, or a destructive

 16    device after your conviction, you can be prosecuted in the

 17    future for being a felon in possession.

 18                Do you understand that?

 19                THE DEFENDANT:       Yes, your Honor.

 20                THE COURT:    In addition, having a felony conviction

 21    means that you may not have other civil rights, such as the

 22    right to vote, to hold public office, or to serve on a jury.

 23                Do you understand that?

 24                THE DEFENDANT:       Yes, your Honor.

 25                THE COURT:    Ms. Sise, have I misstated or omitted

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  1    any of the penalties or consequences for pleading guilty?

  2                MS. SISE:    No, your Honor.

  3                THE COURT:    Mr. Ceraolo, do you understand all of

  4    the consequences of pleading guilty which I've just described?

  5                THE DEFENDANT:       Yes, your Honor.

  6                THE COURT:    Now, as I mentioned, if you plead

  7    guilty, Judge Block will sentence you.             I want to briefly

  8    review how he will determine your sentence.

  9                First, the Court will undergo an analysis to

 10    determine what a reasonable sentence is in your case.                As a

 11    first step, the Court must consider the advisory sentencing

 12    guidelines that are issued by the United States Sentencing

 13    Commission.      Those guidelines are just what they say; in other

 14    words, they're a guide to help the Court decide how to

 15    sentence you.      The guidelines are not mandatory.           The Court is

 16    required to consider them.

 17                Have you had a chance to discuss the sentencing

 18    guidelines with your lawyer?

 19                THE DEFENDANT:       Yes, your Honor.

 20                THE COURT:    As a second step, the Court will also

 21    consider guidelines factors that will allow him to sentence

 22    you either above or below the applicable sentencing guidelines

 23    range, what's known as departing upward or departing downward

 24    from that range.

 25                Do you understand that?

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  1                THE DEFENDANT:       Yes, your Honor.

  2                THE COURT:    Finally, the Court must consider several

  3    factors set forth in the sentencing statute against all of the

  4    facts and circumstances of this case to determine whether to

  5    impose a sentence within or outside the guidelines range.

  6                Some of those factors include the nature and the

  7    circumstances of the crimes committed, your characteristics

  8    and history, the kinds of sentences available, and deterring

  9    you or others from committing crimes, among other things.

 10                Do you understand that?

 11                THE DEFENDANT:       Yes, your Honor.

 12                THE COURT:    What this means generally is that until

 13    your sentencing hearing, you can't know with any certainty

 14    what the guidelines range will be, whether there will be

 15    grounds to depart upwardly or downwardly, or whether the Court

 16    will impose a sentence outside the guidelines.

 17                Do you understand that?

 18                THE DEFENDANT:       Yes, your Honor.

 19                THE COURT:    To help the judge decide your sentence,

 20    the probation department will prepare a report about the case.

 21    It's called a "presentence investigation report," commonly

 22    known as a "PSR."      The PSR will include facts about the case

 23    and about your background and the law that applies to the

 24    case.

 25                Probation will want to interview you and you can

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  1    have your attorney present for that interview.               Probation will

  2    also talk with the prosecutors or the law enforcement agents

  3    involved in the case and possibly others.

  4                Do you understand that?

  5                THE DEFENDANT:       Yes, your Honor.

  6                THE COURT:    The report also includes a recommended

  7    guidelines calculation based on the circumstances of the

  8    offense and the extent of your criminal history.               Your

  9    attorney will be able to review and discuss this report with

 10    you and to challenge information stated in the report.                 The

 11    Government may also challenge information stated in the

 12    report.

 13                Do you understand that?

 14                THE DEFENDANT:       Yes, your Honor.

 15                THE COURT:    At the sentencing hearing, the Court

 16    will hear arguments from your attorney and the attorney for

 17    the Government about any objections to the report and then

 18    will rule on them.      And then the judge will listen to you if

 19    you chose to speak, to your attorney, to the Government, and

 20    maybe others about what your sentence should be.

 21                Do you understand that?

 22                THE DEFENDANT:       Yes, your Honor.

 23                THE COURT:    The judge will calculate the applicable

 24    sentencing guidelines and consider them as well as the

 25    statutory factors and then he'll impose a sentence based on

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  1    all of that.

  2                Do you understand this process that I've just

  3    described?

  4                THE DEFENDANT:       Yes, your Honor.

  5                THE COURT:    Now I'm going to ask counsel for both

  6    sides what their estimates of the guidelines are in this case.

  7                I'm going to start with you, Ms. Sise.             And if you

  8    could just stick with the total adjusted offense level, the

  9    criminal history category, and then the related estimated

 10    guidelines range, that would be helpful.

 11                MS. SISE:    Yes, your Honor.

 12                The Government estimates a total score of 12 and the

 13    Defendant's criminal history of a category I.              If the

 14    Defendant clearly demonstrates through acceptance of

 15    responsibility --

 16                THE COURT:    Just the total.

 17                MS. SISE:    Sorry.

 18                Well, with the minus two for acceptance of

 19    responsibility, it's an adjusted offense level of ten and a

 20    range of six to twelve months for Count One.

 21                Because Count Two carries the mandatory consecutive

 22    term of imprisonment of 24 months, the effective guidelines

 23    range is 30 to 36 months.

 24                THE COURT:    For all.

 25                MS. SISE:    For both Counts One and Two.

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  1                THE COURT:    Thank you very much.

  2                Mr. Appleton, do you agree with that estimate?

  3                MR. APPLETON:        I do, your Honor.

  4                THE COURT:    Now, while I have asked the attorneys to

  5    estimate the applicable guidelines range and there is some

  6    agreement regarding that estimate, the estimate that you

  7    heard, Mr. Ceraolo, is not binding on the Court.                Judge Block

  8    will do his own sentencing guidelines calculation and that's

  9    the calculation that will be used at sentencing.

 10                Do you understand that?

 11                THE DEFENDANT:        Yes, your Honor.

 12                THE COURT:    Even if your actual guidelines range is

 13    different from the estimate, you will not be allowed to

 14    withdraw your plea of guilty.

 15                Do you understand that?

 16                THE DEFENDANT:        Yes, your Honor.

 17                THE COURT:    Similarly, if you are sentenced to

 18    something different from what the estimated sentencing

 19    guidelines range will be, you will not be allowed to withdraw

 20    your guilty plea.

 21                Do you understand that?

 22                THE DEFENDANT:        Yes, your Honor.

 23                THE COURT:    You should also understand that there is

 24    no parole in the federal system.            If you are sentenced to

 25    prison, you will not be released on parole.

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  1                Do you understand that?

  2                THE DEFENDANT:        Yes, your Honor.

  3                THE COURT:    Now, under some circumstances, you or

  4    the Government may have the right to appeal any sentence

  5    imposed on you.      For example, if you thought the judge made a

  6    mistake in sentencing you, you would have the right to appeal.

  7                However, in your agreement with the Government, you

  8    agreed that you won't appeal or otherwise challenge the

  9    sentence if you are sentenced to 36 months or fewer in prison.

 10    You may still assert claims of ineffective assistance of

 11    counsel.

 12                Do you understand that?

 13                THE DEFENDANT:        Yes, your Honor.

 14                THE COURT:    Counsels, is there anything else in the

 15    written agreement or anything else I need to review with

 16    Mr. Ceraolo?

 17                Mr. Appleton?

 18                MR. APPLETON:        I don't believe so, your Honor.

 19                THE COURT:    Ms. Sise?

 20                MS. SISE:    No, your Honor.

 21                THE COURT:    Mr. Ceraolo, do you have any questions

 22    about anything that I've reviewed today?

 23                THE DEFENDANT:        No, I do not, your Honor.

 24                THE COURT:    Do you need any time to discuss anything

 25    with your lawyer?

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  1                THE DEFENDANT:        No, I do not, your Honor.

  2                THE COURT:    Mr. Appleton, do you know of any reason

  3    why Mr. Ceraolo should not plead guilty?

  4                MR. APPLETON:        No, your Honor.

  5                THE COURT:    Are you aware of any viable legal

  6    defenses to the charges?

  7                MR. APPLETON:        No, your Honor.

  8                THE COURT:    Mr. Ceraolo, are you ready to plead at

  9    this time?

 10                THE DEFENDANT:        Yes, your Honor.

 11                THE COURT:    Tell me, what is your plea to Count One

 12    of the indictment charging you with conspiracy to commit

 13    computer intrusions, guilty or not guilty?

 14                THE DEFENDANT:        Guilty.

 15                THE COURT:    Are you pleading guilty to Count One

 16    voluntarily and of your own free will?

 17                THE DEFENDANT:        Yes, your Honor.

 18                THE COURT:    Has anyone threatened or forced you to

 19    plead guilty to Count One?

 20                THE DEFENDANT:        No, your Honor.

 21                THE COURT:    Other than the promises in your written

 22    agreement with the Government, has anyone promised you

 23    anything to make you plead guilty to Count One?

 24                THE DEFENDANT:        No, your Honor.

 25                THE COURT:    Has anyone made any promise to you as to

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  1    what your sentence will be as to Count One?

  2                THE DEFENDANT:       No, your Honor.

  3                THE COURT:    And what is your plea to Count Two of

  4    the indictment charging you with aggravated identity theft,

  5    guilty or not guilty?

  6                THE DEFENDANT:       Guilty.

  7                THE COURT:    Are you pleading to Count Two

  8    voluntarily and of your own free will?

  9                THE DEFENDANT:       Yes, your Honor.

 10                THE COURT:    Has anyone threatened or forced you to

 11    plead guilty to Count Two?

 12                THE DEFENDANT:       No, your Honor.

 13                THE COURT:    Other than the promises in your written

 14    agreement with the Government, has anyone promised you

 15    anything to make you plead guilty to Count Two?

 16                THE DEFENDANT:       No, your Honor.

 17                THE COURT:    Has anyone made any promise to you that

 18    your sentence will be anything other than the mandatory

 19    minimum of two years as to Count Two?

 20                THE DEFENDANT:       No, your Honor.

 21                THE COURT:    In that case, then, please tell me in

 22    your own words what you did to make you guilty of the crimes

 23    charged in Count One and Count Two of the indictment.

 24                Before you start, I see that you have a document in

 25    front of you.

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  1                Is that what you plan to read?

  2                THE DEFENDANT:       Yes.

  3                THE COURT:    Did you personally prepare that

  4    document?

  5                THE DEFENDANT:       I worked on it with my lawyer.

  6                THE COURT:    With your lawyer, okay.

  7                Did you review everything that's stated in that

  8    document?

  9                THE DEFENDANT:       Yes, your Honor.

 10                THE COURT:    And do you agree with everything that is

 11    stated in the document?

 12                THE DEFENDANT:       Yes, your Honor.

 13                THE COURT:    All right.       If you're going to read it,

 14    please do so, but just read loudly and slowly so that the

 15    court reporter and I can hear you.

 16                Take your time.

 17                THE DEFENDANT:       I joined a group called Vial in

 18    Queens and I joined the group and used my computer expertise

 19    to help their efforts in April and May 2022.

 20                I was a computer expert and Vial, a cyber group,

 21    recruited me to help them during the pandemic to obtain

 22    personal computer log-in credentials of others.

 23                On May 7, 2022, I was aware that another member of

 24    the group, a co-defendant Mr. Singh, used the user name and

 25    password belonging to a law enforcement officer without that

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  1    officer's knowledge or consent to gain access to a federal

  2    government database without authorization.               Mr. Singh informed

  3    me of what he did.

  4                On May 8, I shared the stolen credentials of the law

  5    enforcement officer with others in the group Vial.                 I knew

  6    what we were doing was unlawful.

  7                I should state that I never met anyone in the group

  8    in person nor did I participate in any acts outside of my

  9    home, adding that the transfer of the stolen credential as

 10    described was in support of the conspiracy to commit computer

 11    intrusion charged in Count One.

 12                THE COURT:    Okay.      Just to be clear, you knew when

 13    you joined this group that it was for the purpose of

 14    committing computer intrusions?

 15                THE DEFENDANT:        Yes, your Honor.

 16                THE COURT:    Ms. Sise, does this allocution satisfy

 17    all of the essential elements of the charges to which

 18    Mr. Ceraolo is pleading guilty?

 19                MS. SISE:    Yes, your Honor.

 20                THE COURT:    Any facts that the Government will be

 21    proffering otherwise?

 22                MS. SISE:    No, your Honor.

 23                THE COURT:    Mr. Appleton, is there anything that

 24    you'd like to add?

 25                MR. APPLETON:        No, your Honor.

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  1                THE COURT:    And based on the information given to

  2    me, I make the following findings:

  3                First, I find that Mr. Ceraolo is competent to

  4    proceed.

  5                Second, I find that he is acting voluntarily and

  6    that his plea is not the result of any force, threats, or

  7    undisclosed promises.

  8                Third, I find that he fully understands his rights

  9    and the potential consequences of his guilty plea.

 10                Finally, I find that there is a factual basis for

 11    the plea; meaning, that he did what is charged in Counts One

 12    and Two of the indictment.

 13                Therefore, I respectfully recommend that the Court

 14    accept the Defendant's plea of guilty to Counts One and Two of

 15    the indictment.

 16                Now, Mr. Ceraolo, the next step is that you will

 17    meet with someone from the probation department to prepare

 18    that presentence investigation report that I talked about

 19    earlier.    I urge you to cooperate with them and be truthful

 20    with them; of course, with the advice of your attorney.

 21                Now, sentencing in this case will be before

 22    Judge Block and will be scheduled after the presentence

 23    investigation report is disclosed.           The parties must review

 24    and comply with Judge Block's individual rules for sentencing

 25    submissions.

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  1                Mr. Ceraolo is currently on bond.

  2                Is the Government seeking detention at this time?

  3                MS. SISE:    No, your Honor.

  4                THE COURT:    Then Mr. Ceraolo, you're going to

  5    continue to be on pretrial supervision while your sentencing

  6    is pending and you are still required to comply with all of

  7    the previously imposed release conditions.

  8                For the record, I am returning Court Exhibit 1,

  9    which is the written agreement between the Government and the

 10    Defendant, to the Government for its files and to provide a

 11    copy of the fully executed agreement to the defense.

 12                Mr. Appleton, is there anything else on behalf of

 13    Mr. Ceraolo?

 14                MR. APPLETON:        No, your Honor.

 15                THE COURT:    Ms. Sise, anything for the Government?

 16                MS. SISE:    No, your Honor.

 17                THE COURT:    Then this proceeding is adjourned.

 18    Thank you all very much.

 19                (Matter concluded.)

 20

 21                                E X H I B I T S

 22

 23                     Court Exhibit 1                Page 16

 24

 25                                      * * * * *

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